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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF TEXAS
                                     WACO DIVISION

 PALTALK HOLDINGS, INC.,

                Plaintiff,
 v.                                                CIVIL ACTION NO. 6:21-CV-00757-ADA

 CISCO SYSTEMS, INC.,

                Defendant.                         JURY TRIAL DEMANDED



                          JOINT CLAIM CONSTRUCTION STATEMENT

       Pursuant to the Order Governing Proceedings – Patent Case (OGP Version 3.5.1) and as

agreed by the parties in the Agreed Scheduling Order (Dkt. 24), Plaintiff Paltalk Holdings, Inc.

(“Paltalk”) and Defendant Cisco Systems, Inc. (“Cisco”) hereby submit this claim construction

statement for terms included in U.S. Patent No. 6,683,858.

1.     Disputed Terms:

       A.      “a multiplexed stream” / “said multiplexed stream”

      Claim Language                   Paltalk’s Construction         Cisco’s Construction
      “multiplexed stream”             Plain and ordinary meaning.    “A data structure containing a
      (cls. 1, 2, 6, 7)                                               continuous sequence of
                                                                      interleaved packets of audio
                                                                      data from each client on the
                                                                      active speakers list”


       B.      “PC-based equipment”

      Claim Language                   Paltalk’s Construction         Cisco’s Construction
      “PC-based equipment”             “devices for personal          Plain and ordinary meaning.
                                       computing”
      (cls. 4, 9)




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              C.      “means for removing” (Claim 7)

Claim Language                             Paltalk’s Constructions                    Cisco’s Constructions
“means for removing before said            Function: removing, before said             Function: removing, before said
packet       sender    sends      said     packet      sender      sends      said     packet      sender      sends      said
multiplexed stream to one of the           multiplexed stream to one of the            multiplexed stream to one of the
plurality of clients which have the        plurality of clients which have the         plurality of clients which have the
capability to mix multiple audio           capability to mix multiple audio            capability to mix multiple audio
streams, from said multiplexed             streams, from said multiplexed              streams, from said multiplexed
stream said packets of audio data          stream said packets of audio data           stream said packets of audio data
received from said one of the              received from said one of the               received from said one of the
plurality of clients, when said one        plurality of clients, when said one of      plurality of clients, when said one of
of the plurality of clients is on said     the plurality of clients is on said list    the plurality of clients is on said list
list of active speakers”                   of active speakers                          of active speakers

(cl. 7)                                    Structure: mixer 118 in Figures 1           Structure: Indefinite
                                           and 2 as well as equivalents thereof




              D.      “means for removing” (Claim 8)

Claim Language                           Paltalk’s Constructions                      Cisco’s Constructions
“means for removing, before              Function: removing, before said              Function: removing, before said
said packet sender sends said            packet sender sends said combined            packet sender sends said combined
combined packet to one of the            packet to one of the plurality of            packet to one of the plurality of clients
plurality of clients which do not        clients which do not have the                which do not have the capability to
have the capability to mix               capability to mix multiple audio             mix multiple audio streams, from said
multiple audio streams, from             streams, from said combined packet           combined packet said packets of audio
said combined packet said                said packets of audio data received          data received from said one of the
packets of audio data received           from said one of the plurality of            plurality of clients, when said one of
from said one of the plurality of        clients, when said one of the plurality      the plurality of clients is on said list of
clients, when said one of the            of clients is on said list of active         active speakers
plurality of clients is on said list     speakers
of active speakers”
                                         Structure: mixer 118 in Figures 1            Structure: Indefinite
(cl. 8)                                  and 2 as well as equivalents thereof




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      2.       Agreed Constructions:

              Terms and Asserted Claims                                     Parties’ Agreed Construction
“means for storing information indicative of whether         Function: storing information indicative of whether each
each of the plurality of clients has the capability to       of the plurality of clients has the capability to mix multiple
mix multiple audio streams”                                  audio streams

(Cls. 6-10)                                                  Structure: main memory 408 and processor 404 in Figure
                                                             4 as well as equivalents thereof
“means for maintaining”                                      Function: maintaining a list of each of the plurality of
                                                             clients that is an active speaker
(Cls. 6-10)
                                                             Structure: control logic, like that of control flow 300 in
                                                             Figure 3, executed by the computer system 400 in Figure 4
                                                             as well as equivalents thereof


      Dated: February 4, 2022                       Respectfully submitted,


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                               CERTIFICATE OF SERVICE

       This is to certify that a true and correct copy of the foregoing document was filed

electronically using the Court’s CM/ECF system, on the 4th day of February 2022.


                                               /s/ Max L. Tribble, Jr.
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